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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA

              Plaintiff,
                                                  Case No. 11-20129-11-DT
vs.
                                                  HON. ROBERT H. CLELAND
JOHN RIEDE,

              Defendant.
                                           /

                      AMENDED ORDER FOR PARTIAL PAYMENT

       A order was entered on October 12, 2012 appointing the Federal Defender and

for monthly partial payments of $100.00. The Defendant requests a reduction of the

monthly payment due to a change in his financial situation. Upon review of his new

financial affidavit, his request will be granted. Therefore,

       IT IS ORDERED that the partial payment is to be made by the defendant in the

amount of $50.00 monthly to the Clerk of the Court, commencing on September 1, 2014,

until the case is terminated or otherwise ordered by the Court.

                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE

Dated: August 7, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, August 7, 2014, by electronic and/or ordinary mail.


                                            S/Lisa Wagner
                                           Case Manager and Deputy Clerk
                                           (313) 234-5522
